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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


 WILMER RIOS PEREZ,

        Petitioner,

 v.                                             CASE NO: 8:07-cv-01839-T-30TBM
                                                    Crim. No. 8:05-cr-199-T-30TBM
 UNITED STATES OF AMERICA,

       Respondent.
 _____________________________________/


                                  ORDER
                                    and
                      NOTICE OF EVIDENTIARY HEARING

        THIS CAUSE comes before the Court upon Petitioner’s Second Amended Motion to

 Vacate or Correct his sentence pursuant to 18 U.S.C. §2255 (Dkt. #4), and the Government’s

 Response (Dkt. #6). Petitioner did not file a reply. In his Motion, Petitioner asserts that he

 instructed his counsel to file an appeal and his counsel failed to do so. An evidentiary

 hearing will be necessary to resolve this issue.

        This matter is hereby scheduled for an evidentiary hearing on MONDAY, JULY

 21, 2008, AT 1:30 P.M. at the U. S. Sam Gibbons Courthouse, 801 North Florida

 Avenue, Courtroom #13A, Tampa, Florida 33602. Time reserved: Ninety (90) minutes.

 (Spanish interpreter required.)



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        The Government is directed to transport Petitioner to the Tampa, Florida, area at least

 twenty (20) days prior to the hearing so that he may meet with newly appointed counsel and

 attend the hearing. Further, the Government is directed to subpoena JAMES JOHN

 ARMINGTON, Esquire, to be present at the hearing with his file concerning his

 representation of Petitioner.

        Magistrate Judge Thomas B. McCoun, III, is requested to appoint new CJA counsel

 for Petitioner and instruct said counsel to be prepared to address Petitioner’s claim that his

 prior counsel’s failure to file appeal at his direction entitles Petitioner to relief.

        Additionally, the Petitioner states three alternative grounds for relief. These grounds

 are without merit and petitioner is therefore entitled to no relief on these grounds.

                                        BACKGROUND

 Petitioner’s Guilty Plea

        On June 30th, 2005, Petitioner pled guilty, pursuant to a written plea agreement, to one

 count of possession of five kilograms or more with intent to distribute. The plea agreement

 between Petitioner and the Government included a series of pledges and caveats, including

 the following:

        1.      The Government agreed not oppose the Petitioner’s request to the Court that

 Petitioner receive a two-level downward adjustment for acceptance of responsibility for his

 actions, pursuant to USSG §3E1.1(a). This pledge was followed by the caveat that

 “defendant understands that this recommendation or request is not binding on the Court, and

 if not accepted by the Court, the defendant will not be allowed to withdraw from the plea.”

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 (Plea Agreement, CR Dkt. #32).

        2.     The Government agreed that if Petitioner complied with the provisions of

 USSG §3E1.1(b), the Government would file a motion for a downward adjustment of

 Petitioner’s sentence of one additional level. This pledge was immediately followed by the

 caveat that “[t]he defendant understands that the determination as to whether the defendant

 has qualified for a downward adjustment of a third level for acceptance of responsibility rests

 solely with the United States Attorney for the Middle District of Florida, and the defendant

 agrees that the defendant cannot and will not challenge that determination, whether by

 appeal, collateral attack, or otherwise.” (Plea Agreement, CR Dkt. #32).

        3.     The Government agreed that it would not oppose defendant’s request to the

 Court to impost a sentence in accordance with the applicable guidelines without regard to the

 statutory minimum sentence, pursuant to USSG §5C1.2, if the Court found that the Petitioner

 met the criteria set forth in 18 U.S.C. § 3553(f). This pledge was immediately followed by

 the caveat that “[t]he defendant understands that this recommendation or request is not

 binding on the Court.” (Plea Agreement, CR Dkt. #32).

        4.     The Government agreed that it would consider whether Petitioner’s cooperation

 with authorities qualifies as “substantial assistance,” such that it would warrant the filing of

 a motion recommending a downward departure from the applicable guideline range, pursuant

 to USSG §5K1.1, the imposition of a sentence below the statutory minimum, pursuant to 18

 U.S.C. § 3553(e), or both. This agreement was immediately followed by the caveat that “the

 defendant understands that the determination as to whether ‘substantial assistance’ has been

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 provided or what type of motion related thereto will be filed, if any, rests solely with the

 United States Attorney for the Middle District of Florida, and the defendant agrees that

 defendant cannot and will not challenge that determination, whether by appeal, collateral

 attack, or otherwise.” (Plea Agreement, CR Dkt. #32).

        With regards to the last of these agreements, the Government opted to exercise its

 reserved discretion and did not file a §5K1.1 motion for imposition of a sentence below the

 minimum espoused by the guidelines. On August 5th, 2005, the Court accepted Petitioner’s

 guilty plea. On December 6th, 2005 the Court sentenced Petitioner to 120 months in prison,

 including a two-level enhancement based on Petitioner’s possession of a firearm and an

 adjustment for the Court’s finding that Petitioner played only a minor role. Notably, this

 sentence was the minimum required by statute.

        No appeal was filed in Petitioner’s case and the judgment therefore became final on

 December 16, 2005.

 The Present Petition

        The circumstances surrounding Petitioner’s filing of his § 2255 Motion are such that

 Petitioner was granted leave to file his Motion after the expiration of the one-year limitation

 period prescribed by 18 U.S.C. § 2255. These circumstances are as follows:

        1.     On January 19th, 2007, the Petitioner filed a motion inquiring as to the status

 of a request for an extension of time to file his § 2255 motion. Petitioner claimed he filed this

 Request in November, 2006, and attached a copy of his Request to this inquiry.



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        2.     On January 30th, 2007, the Court directed the clerk to file the attached request

 and granted an “equitable tolling period,” allowing giving Petitioner until February 20th,

 2007, to file a §2255 motion.

        3.     On July 18th, 2007, the Petitioner filed a motion for leave to supplement his

 §2255 motion. The Court’s docket, however, showed that no §2255 motion had been filed,

 and as such the Court issued an order giving the Petitioner 20 days to show good cause as to

 why his Motion should not be denied as moot. On August 10th, 2007, Petitioner filed his

 response, attaching a copy of the §2255 Motion he filed on February 18th, 2007, according

 to his certificate of service. On September 6, 2007, the Court granted the petitioner’s motion

 to supplement his § 2255 Motion, and Petitioner did so.

        4.     On October 23, 2007, the Court ordered Petitioner to file a second Amended

 Motion to Vacate, using the appropriate form. Petitioner filed this, the instant Petition, on

 November 13th, 2007.

        In his Petition, the Petitioner asserts four grounds for relief. First, Petitioner alleges

 that his counsel was ineffective because counsel failed to appeal his sentence even though

 Petitioner requested that he do so. Second, Petitioner alleges that his counsel was ineffective

 because counsel was “inadequately prepared for his criminal proceedings.” Third, Petitioner

 argues that he is entitled to relief because the Government’s failure to file a §5K1.1 motion

 on Petitioner’s behalf constitutes a “denial of fairness under the law.” Fourth, Petitioner

 argues that he is entitled to relief because the court “over-represented” his offense level.



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        Having reviewed the record, the parties’ arguments, applicable statutes, and

 controlling case law, the Court concludes that Petitioner is entitled to an evidentiary hearing

 regarding his first stated ground for relief, and that his other three stated grounds for relief

 are without merit.

                                 STANDARD OF REVIEW

        According to 18 U.S.C. § 2255, a federal prisoner may challenge his sentence only

 in the following four circumstances: (1) the sentence was imposed in violation of the

 Constitution of the United States; (2) the court was without jurisdiction to impose such a

 sentence; (3) the sentence was in excess of the maximum authorized by law; and (4) the

 sentence is otherwise open to collateral attack. 28 U.S.C. § 2255. Case law establishes that

 only constitutional claims, jurisdictional claims, and claims of error so fundamental has to

 have resulted in a complete miscarriage of justice are cognizable on collateral attack. See

 United States v. Addonizio, 442 U.S. 178, 185 (1979); Richards v. United States, 837 F.2d

 965, 966 (11th Cir. 1988).

        Further, where the motion and the files and records of the case conclusively show that

 the prisoner is entitled to no relief, the court may dispose of a petitioner’s claims without an

 evidentiary hearing. See 18 U.S.C. § 2255.

                                        DISCUSSION

        Petitioner has asserted four grounds for relief. Three are invalid on their face and one

 will require an evidentiary hearing to resolve. Each of Petitioner’s stated grounds will be

 considered in turn.

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 Counsel’s alleged failure to file an appeal at Petitioner’s request.

        Petitioner alleges that he was denied effective assistance of counsel in violation of his

 Sixth Amendment rights when he asked his attorney to appeal his sentence and his attorney

 failed to do so. Because resolving this issue requires finding of facts, an evidentiary hearing

 will be held.

        In order to prevail on a claim of ineffective assistance of counsel, Petitioner must

 show two things: (1) that counsel’s representation “fell below an objective standard of

 reasonableness,” Strickland v. Washington, 466 U.S. 668, 688 (1984), and (2) that counsel’s

 deficient performance prejudiced the defendant, Id. at 694.

        Regarding the first portion of the Strickland test, an attorney who disregards

 instructions from his client to appeal has ipso facto acted in a manner that is professionally

 unreasonable. Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000). Regarding the “prejudice”

 prong of the Strickland test, a petitioner must show that there is a reasonable probability that

 the petitioner would have timely appealed, had his attorney file the notice of appeal

 requested. Flores-Ortega, 528 U.S. at 480. While demonstrating that the petitioner has

 nonfrivolous grounds for appeal may be adequate to establish that a petitioner would have

 appealed, a petitioner is not required to offer nonfrivolous grounds for appeal to establish

 prejudice. Id. at 483; Gomez-Diaz v. United States, 433 F.3d 788, 793-94 (11th Cir. 2005).

 Where an attorney fails to follow express instructions to appeal, prejudice is presumed.

 Gomez-Diaz v. United States, 433 F.3d at 790-92.



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          Here, the Petitioner alleges both that his attorney failed to file an appeal per

 Petitioner’s request and that he was prejudiced by this failure. As there is no conclusive

 evidence in the record either supporting or contradicting Petitioner’s allegations, an

 evidentiary hearing must be held.

 Counsel’s alleged failure to adequately prepare for plea and sentencing

          Petitioner also alleges that his Sixth Amendment rights to effective assistance of

 counsel were violated because his attorney failed to adequately prepare for his plea and

 sentencing. Because the motion, files, and records of this case conclusively show that the

 Petitioner is entitled to no relief on this ground, the Court concludes that this claim is without

 merit.

          As observed, supra, in order to prevail on a claim of ineffective assistance of counsel,

 a petitioner must demonstrate (1) that counsel’s actions were objectively unreasonable,

 Strickland, 466 U.S. at 688, and (2) that the petitioner was prejudiced by counsel’s

 unreasonable behavior. Id. at 694. With respect to counsel’s preparation for Petitioner’s plea

 and sentencing, Petitioner has alleged no facts that satisfy either of these prongs and there

 is nothing in the record that provides any additional support for Petitioner’s claim.

 Petitioner’s final two grounds for relief

          Petitioner’s final two grounds are also without merit and can therefore not serve as a

 basis for relief.

          Petitioner’s argument that he is entitled to relief because the Government failed to file

 a §5K1.1 motion for reduction of sentence on Petitioner’s behalf is without merit because the

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 decision to file such a motion is entirely within the Government’s discretion. Indeed,

 Petitioner signed a plea agreement in which he acknowledged that this was the case.

 Similarly, Petitioner’s argument that this Court “over-represented” his offense level and

 sentence is unavailing because Petitioner fails to offer any facts or law to support this

 assertion. On the contrary, Petitioner’s sentence of 120 months is in line with the “mandatory

 minimum” provided by law, and was well within the Court’s purview to administer. See

 United States v. Booker, 543 U.S. 220 (2005).

                                       CONCLUSION

        For the foregoing reasons, the Court finds that Petitioner is entitled to an evidentiary

 hearing on the factual validity of his first stated ground for relief, and that his other stated

 grounds are without merit.

        It is therefore ORDERED and ADJUDGED that:

        1.     This matter is scheduled for an evidentiary hearing on MONDAY, JULY

 21, 2008, AT 1:30 P.M. at the U. S. Sam Gibbons Courthouse, 801 North Florida

 Avenue, Courtroom #13A, Tampa, Florida 33602. Time reserved: Ninety (90) minutes.

 (Spanish interpreter required.)

        2.     The Government is directed to transport Petitioner to the Tampa, Florida, area

 at least twenty (20) days prior to the hearing so that he may meet with newly appointed

 counsel and attend the hearing. Further, the Government is directed to subpoena JAMES

 JOHN ARMINGTON, Esquire, to be present at the hearing with his file concerning his


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 representation of Petitioner.

           3.        Magistrate Judge Thomas B. McCoun, III, shall appoint new CJA counsel for

 Petitioner to address Petitioner’s remaining claim for relief.

           DONE and ORDERED in Tampa, Florida on May 30, 2008.




 Copies furnished to:
 Magistrate Judge Thomas B. McCoun
 Counsel/Parties of Record
 James John Armington, Esquire
 United States Marshal
 Kathy Thomas, Interpreter Coordinator
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